                     Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 1 of 35
Fill in this information to identify the case:

               HONX, Inc.
Debtor Name __________________________________________________________________
                                   Southern                              Texas
United States Bankruptcy Court for the:_______________________ District of ________
                                                                       (State)

                22-90035 (MI)
Case number: _________________________




Official Form 426
Periodic Report Regarding Value, Operations, and Profitability of Entities
in Which the Debtor’s Estate Holds a Substantial or Controlling Interest
                                                                                                                                         12/17


                                             Type text here
                                             06/02/2022
           This is the Periodic Report as of __________    on the value, operations, and profitability of those entities in which a
           Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debtor
           Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the estate of such
           Debtor.
               HONX, Inc.                  holds a substantial or controlling interest in the following entities:
               Name of Controlled Non-Debtor Entity                                      Interest of the Debtor          Tab #


            St. Croix Petrochemical Corp.                                               50%




           This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
           Controlled Non-Debtor Entity.

           Each Entity Report consists of five exhibits.
               Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows,
                and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
                along with summarized footnotes.
               Exhibit B describes the Controlled Non-Debtor Entity’s business operations.

               Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

               Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
                allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
                Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
                Entity is a party with any other Controlled Non-Debtor Entity.

               Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
                professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
                such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with
                respect thereto.

           This Periodic Report must be signed by a representative of the trustee or debtor in possession.




Official Form 426           Periodic Report About Controlled Non-Debtor Entities’ Value, Operations, and Profitability       page 1
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 2 of 35

Debtor Name    HONX, Inc.
              _______________________________________________________                                    22-90035 (MI)
                                                                                             Case number_____________________________________




           The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and being familiar with the Debtor’s
           financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the

                                                                                                                                  
           attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
           the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3



                                         
           For non-individual
           Debtors:                         _____________________________________________
                                            Signature of Authorized Individual
                                            Todd R. Snyder
                                            _____________________________________________
                                            Printed name of Authorized Individual
                                                 06/02/2022
                                            Date _______________
                                                   MM / DD      / YYYY

           For individual Debtors:
                                           ___________________________________________               ____________________________________________
                                            Signature of Debtor 1                                      Signature of Debtor 2

                                            _______________________________________                    ____________________________________________
                                            Printed name of Debtor 1                                   Printed name of Debtor 2

                                            Date _______________                                       Date _______________
                                                   MM / DD      / YYYY                                        MM / DD       / YYYY




Official Form 426               Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability             page 2
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 3 of 35

Debtor Name
                HONX, Inc.
               _______________________________________________________
                                                                                                        22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit A: Financial Statements for      St. Croix Petrochemical Corp.

 Attached.

 The Form 426 reporting do not purport to represent financial statements prepared in accordance with
 Generally Accepted Accounting Principles in the United States (“GAAP”) or any other foreign
 jurisdiction, as applicable, nor are they intended to be fully reconciled with the consolidated financial
 statements of the Debtor. Additionally, the Form 426 reporting contains unaudited information that is
 subject to further review, potential adjustment, and reflect the Non-Debtor's commercially reasonable
 efforts to report the assets and liabilities of each Non-Debtor on an unconsolidated basis.

 The SCPC joint venture was recorded as an equity investment(asset on Balance Sheet) on 0455-
 HOVIC/HONYC/HONX’s books in Oct 1998 (SAP SA3). In Dec 2011, the remaining ~$480K
 balance of the SCPC equity investment was written off (SAP SA3).

 Source: Hess Corporation - Accounting




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 3
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 4 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 5 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 6 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 7 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 8 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 9 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 10 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 11 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 12 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 13 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 14 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 15 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 16 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 17 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 18 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 19 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 20 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 21 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 22 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 23 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 24 of 35
Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 25 of 35
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 26 of 35

Debtor Name
                HONX, Inc.
               _______________________________________________________
                                                                                                         22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit A-1: Balance Sheet for     St. Croix Petrochemical
                                                                   as of Corp.
                                                                          12/31/2020


        See attachments following Exhibit A.

       The Form 426 reporting do not purport to represent financial statements prepared in accordance
       with Generally Accepted Accounting Principles in the United States (“GAAP”) or any other foreign
       jurisdiction, as applicable, nor are they intended to be fully reconciled with the consolidated financial
       statements of the Debtor. Additionally, the Form 426 reporting contains unaudited information that
       is subject to further review, potential adjustment, and reflect the Non-Debtor's commercially
       reasonable efforts to report the assets and liabilities of each Non-Debtor on an unconsolidated basis.

       The SCPC joint venture was recorded as an equity investment(asset on Balance Sheet) on
       0455-HOVIC/HONYC/HONX’s books in Oct 1998 (SAP SA3). In Dec 2011, the remaining ~$480K
       balance of the SCPC equity investment was written off (SAP SA3).

       Source: Hess Corporation - Accounting




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 4
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 27 of 35

Debtor Name
                HONX, Inc.
               _______________________________________________________
                                                                                                         22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit A-2: Statement of Income (Loss) for        St. Croix Petrochemical
                                                                                      for Corp.
                                                                                          period ending 12/31/2020


          See attachments following Exhibit A.

          The Form 426 reporting do not purport to represent financial statements prepared in accordance with
          Generally Accepted Accounting Principles in the United States (“GAAP”) or any other foreign
          jurisdiction, as applicable, nor are they intended to be fully reconciled with the consolidated financial
          statements of the Debtor. Additionally, the Form 426 reporting contains unaudited information that is
          subject to further review, potential adjustment, and reflect the Non-Debtor's commercially reasonable
          efforts to report the assets and liabilities of each Non-Debtor on an unconsolidated basis.

          The SCPC joint venture was recorded as an equity investment(asset on Balance Sheet) on
          0455-HOVIC/HONYC/HONX’s books in Oct 1998 (SAP SA3). In Dec 2011, the remaining ~$480K
          balance of the SCPC equity investment was written off (SAP SA3).

          Source: Hess Corporation - Accounting




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 5
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 28 of 35

Debtor Name
                HONX, Inc.
               _______________________________________________________
                                                                                                         22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit A-3: Statement of Cash Flows for        St. Croix Petrochemical  Corp.
                                                                              for period ending


           See attachments following Exhibit A.

           The Form 426 reporting do not purport to represent financial statements prepared in
           accordance with Generally Accepted Accounting Principles in the United States (“GAAP”) or
           any other foreign
           jurisdiction, as applicable, nor are they intended to be fully reconciled with the consolidated
           financial
           statements of the Debtor. Additionally, the Form 426 reporting contains unaudited
           information that is subject to further review, potential adjustment, and reflect the
           Non-Debtor's commercially reasonable efforts to report the assets and liabilities of each
           Non-Debtor on an unconsolidated basis.

           The SCPC joint venture was recorded as an equity investment(asset on Balance Sheet) on
           0455-HOVIC/HONYC/HONX’s books in Oct 1998 (SAP SA3). In Dec 2011, the remaining ~
           $480K balance of the SCPC equity investment was written off (SAP SA3).

           Source: Hess Corporation - Accounting




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 6
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 29 of 35

Debtor Name
                HONX, Inc.
               _______________________________________________________                                  22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity ( Deficit) for              St. Croix Petrochemical Corp.
                                                                                                                               for period ending
              12/31/2021

              Not applicable; No change in shareholder equity between the periods ending 12/30/2020 and
              12/31/2021




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 7
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 30 of 35

Debtor Name
                HONX, Inc.
               _______________________________________________________
                                                                                                         22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit B: Description of Operations for      St. Croix Petrochemical Corp.


          SCPC is a joint venture held by HOVIC and Hercules Islands Corp., a subsidiary of Ashland LLC.

          The SCPC joint venture was formed in 1973 for the purpose of producing paraxylene. The joint venture
          leased property at the HOVIC refinery site and operated units within that leased space from approximately
          1973 until it ceased operations in 1992.

          Source: Hess Corporation - Legal




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 8
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 31 of 35

Debtor Name     HONX, Inc.
               _______________________________________________________
                                                                                                         22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit C: Description of Intercompany Claims



           None. SCPC is the only controlled Non-Debtor Entity.




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 9
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 32 of 35

Debtor Name
                HONX, Inc.
               _______________________________________________________
                                                                                                         22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit D: Allocation of Tax Liabilities and Assets



          No tax payments, refunds or attributes have been allocated to the Controlled Non-Debtor
          entity.

          There are currently no tax sharing or tax allocation agreements to which any Controlled
          Non-Debtor entity is a party.




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 10
                    Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 33 of 35

Debtor Name
                HONX, Inc.
               _______________________________________________________
                                                                                                         22-90035 (MI)
                                                                                            Case number_____________________________________




              Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
              otherwise payable by a Debtor


          Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor
          Entity in connection with any claims, administrative expenses, or professional fees that have been or could
          be asserted against any Debtor.

          None.




Official Form 426              Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability           page 11
             Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 34 of 35




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                        )
    In re:                                                              )     Chapter 11
                                                                        )
    HONX, INC.,1                                                        )     Case No. 22-90035 (MI)
                                                                        )
                               Debtor.                                  )
                                                                        )

                       STATEMENT OF LIMITATIONS AND DISCLAIMERS
                       REGARDING THE DEBTOR’S RULE 2015.3 REPORT

        The above-captioned debtor and debtor in possession (the “Debtor”) has filed its initial
“financial report[] of the value, operations, and profitability of each entity that is not a publicly
traded corporation or a debtor in a case under title 11, and in which the estate holds a substantial
or controlling interest” pursuant to rule 2015.3 of the Federal Rules of Bankruptcy Procedure (such
report, the “Rule 2015.3 Report”) in the United States Bankruptcy Court for the Southern District
of Houston (the “Court”).

       In preparing the Rule 2015.3 Report, the Debtor relied on financial data derived from its
books and records that was available at the time of such preparation. Although the Debtor has
made commercially reasonable efforts to ensure the accuracy and completeness of the Rule 2015.3
Report, subsequent information or discovery may result in material changes to the Rule 2015.3
Report. As a result, inadvertent errors or omissions may exist. For the avoidance of doubt, the
Debtor hereby reserves its rights to amend and supplement the Rule 2015.3 Report as may be
necessary or appropriate.

        The Debtor and its agents, attorneys, and financial advisors do not guarantee or warrant the
accuracy or completeness of the data that is provided herein, and will not be liable for any loss or
injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtor and its agents, attorneys, and financial advisors expressly do not
undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or re-
categorized, except as required by applicable law. In no event will the Debtor or its agents,
attorneys, and/or financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtor or damages to business reputation, lost

1
      The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
      is HONX, Inc. (2163). The location of the Debtor’s service address in this chapter 11 case is: 1501 McKinney
      Street, Houston, Texas, 77010.
      Case 22-90035 Document 135 Filed in TXSB on 06/03/22 Page 35 of 35




business, or lost profits), whether foreseeable or not and however caused, even if the Debtor or its
agents, attorneys, and financial advisors are advised of the possibility of such damages.

        Todd R. Snyder, Chief Administrative Officer of HONX, Inc. has signed the Rule 2015.3
Report. Mr. Snyder is an authorized signatory for the Debtor. In reviewing and signing the Rule
2015.3 Report, he has necessarily relied upon the efforts, statements, advice, and representations
of the Debtor’s legal and financial advisors. Mr. Snyder has not (and could not have) personally
verified the accuracy of each such statement and representation contained in the Rule 2015.3
Report.

        This Statement of Limitations and Disclaimers Regarding the Debtor’s Rule 2015.3 Report
(this “Statement”) is incorporated by reference in and comprise an integral part of the Rule 2015.3
Report and all future Rule 2015.3 Reports filed by the Debtor. This Statement should be referred
to and considered in connection with any review of the Rule 2015.3 Report and any future Rule
2015.3 Reports. In the event that any Rule 2015.3 Report differs from this Statement, this
Statement controls.

                                 *       *       *       *      *




                                                 2
